                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION
 UNITED STATES OF AMERICA,                               )
                                                         )
                    Plaintiff,                           )
                                                         )
 v.                                                      )       No. 11-00302-03-CR-W-DW
                                                         )
 LORRIE R. DOLAN,                                        )
                                                         )
                    Defendant.                           )
                                                ORDER

         Pending before the Court is Magistrate Judge Larsen’s Report and Recommendation (Doc.

147). After an independent review of the record, the Court ADOPTS the Magistrate’s Report and

Recommendation. Consequently, it is hereby ORDERED that:

         (1)       the Magistrate’s Report and Recommendation (Doc. 147) be attached to and made

                   part of this Order; and

         (2)       Defendant Lorrie R. Dolan is incompetent to be sentenced and to assist in her

                   defense; and

         (3)       Defendant Lorrie R. Dolan shall be committed to the custody of the Attorney General

                   for hospitalization and treatment pursuant to 18 U.S.C. § 4241(d).

         IT IS SO ORDERED.




 Date:         January 16, 2013                                    /s/ Dean Whipple
                                                                        Dean Whipple
                                                                 United States District Judge




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